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                           United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

  LEONARD WAYNE STEPHENSON,                       §
                                                  §               Civil Action No. 4:19-cv-610
  v.                                              §            Criminal Action No. 4:17-cr-185
                                                  §
  UNITED STATES OF AMERICA                        §

                     MEMORANDUM ADOPTING REPORT AND
              RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the report of the United States Magistrate Judge in this action,

 this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

 On September 7, 2021, the Magistrate Judge entered proposed findings of fact and

 recommendations (Dkt. #24) that Movant’s Motion to Vacate, Set Aside, or Correct Sentence

 Pursuant to 28 U.S.C. §2255 (the “Motion”) (Dkt. #1) be denied and the case dismissed with

 prejudice.

        Having received the Report of the United States Magistrate Judge, and no timely objections

 being filed, the Court is of the opinion that the findings and conclusions of the Magistrate Judge

 are correct and adopts the Magistrate Judge’s report as the findings and conclusions of the Court.

        It is therefore ORDERED that the Motion (Dkt. #1) is DENIED, and the case is

 DISMISSED WITH PREJUDICE. A certificate of appealability is DENIED.


        IT IS SO ORDERED.
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  SIGNED this 29th day of September, 2021.




                            ___________________________________
                            AMOS L. MAZZANT
                            UNITED STATES DISTRICT JUDGE




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